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Date 0)
By (officer initials)__ MAU) -
UNITED STATES DISTRICT COURT

NORTHERN DISTRICT OF FLORIDA
TALLAHASSEE NVISTON

CIVIL RIGHTS COMPLAINT FORM FOR
PRO SE, PRISONER LITIGANTS IN ACTIONS UNDER
28 U.S.C. § 1331 or § 1346 or 42 U.S.C, § 1983

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Inmate TD Number: Vy |. ;

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(Write the full name and inmate ID
number of the Plaintiff.
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(To be filled in by the Clerk’s Office)
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names of all the Defendants cannot TOT

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“see attached” in the space and

attach an additional page with the

full list of names. Do not include

addresses here.)

NDEL Pro Se 14 (Rev.08/21) Civil Rights Complaint Preoner !
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I. PARTIES TO THIS COMPLAINT

A. Plaintiff

Plaintiff’ s Name:Deonsetilade Manson 1D Number: k AK i 2

List all other names by which you have been known:

 

\ 4
Current Institution:

Address: Al Tathluhen Q rid ,

Dewi Syssoat. FL 29432

B. Defendant(s)

 

State the name of the Defendant, whether an individual, government agency,
organization, or corporation. For individual Defendants, identify the
person’s official position or job title, and mailing address. Indicate the
capacity in which the Defendant is being sued. Do this for every Defendant:

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1. Defendant's Name:

Official Position: Ph aethenl Gi lark

 

 
 

 

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Mailing Address: (scarp, ANTeCso h
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2. Defendant's Name: Sook Wd encod

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3. Defendant's Name: A. nr aes

Official Position: Clone). 7, Chul of Leon So

Employed at: Geureanbe, Canosa adasttiion uc Mt

Mailing Address: Ga cade (pee? Mono Farla, ‘\loh Ezel\ Qoiid 5
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(Provide this information for all additional Defendants in this case y

attaching additional pages, as needed.) CEE ‘ANS NAL PAG 5 4
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Il. BASIS FOR JURISDICTION
Under 42 U.S.C. § 1983, you may sue state or local officials for the
“deprivation of any tights, privileges, or immunities secured by the
Constitution” and federal law. Under Bivens v. Six Unknown Named Agents of
Federal Bureau of Narcotics, 403 U.S. 388 (1971), you may sue federal

officials for the violation of certain Constitutional rights.

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O Federal Officials (Bivens case) State/Local Officials ($ 1983 case)

Il. PRISONER STATUS

Indicate whether you are a prisoner, detainee, or in another confined status:

O Pretrial Detainee O Civilly Committed Detainee
af Convicted State Prisoner 0 Convicted Federal Prisoner
Q Immigration Detainee 0 Other (explain below):

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IV. STATEMENT OF FACTS

 

Provide a short and plain statement of the facts which show why you are
entitled to relief. Describe how each Defendant was involved and what each
person did, or did not do, in support of your claim. Identify when and where
the events took place, and state how each Defendant caused you harm or
violated federal law. Write each statement in short numbered paragraphs,
limited as far as practicable to a single event or incident. Do not make legal
argument, quote cases, cite to statutes, or reference a memorandum. You
may make copies of the following page if necessary to supply all the facts.

Barring extraordinary circumstances, no more than five (5) additional pages

NDFL Pro Se 14 (Rev 08/21) Civil Rights Complaint Prisoner 4
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Statement of Facts Continued (Page_\_ of LA. _)

 

 

 

 

 

 

 

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Vv. STATEMENT OF CLAIMS
State what rights under the Constitution, laws, or treaties of the United States
have been violated. Be specific. If more than one claim is asserted, number
~ each separate claim and relate it to the facts alleged in Section [V. If more than

one Defendant is named, indicate which claim is presented against which

_ Defendant.

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VI. RELIEF REQUESTED

State briefly what relief you seek from the Court. Do not make legal
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actual or punitive damages), include the amount sought and explain the basis

for the claims.

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ATTENTION: The Prison Litigation Reform Act (“PLRA”) does not
permit awards for punitive or compensatory damages “for mental or
emotional injury suffered while in custody without a prior showing of
physical injury or the commission of asexual act....” 42 U.S.C. §

1997e(e),

EXHAUSTION OF ADMINISTRATIVE REMEDIES

The PLRA requires that prisoners exhaust all available administrative
remedies (grievance procedures) before bringing a case. 42 U.S.C. §
1997e(a). ATTENTION: If you did not exhaust available remedies prior

to filing Ae § case, this case me @ eae ed. "NI hate MWrivecs bemediet
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» PRIOR LITIGATION

ATTENTION: The “three strikes rule” ofthe PLRA bars a prisoner from
bringing @ case without full payment of the filing fee at the time of case
initiation if the prisoner has “on three or more prior occasions, while
incarcerated or detained in any facility, brought an action or appeal in a
court of the United States that was dismissed on the grounds that it is
Srivolous, malicious, or fails to state a claim upon which relief may be
granted, unless the prisoner is under imminent danger of serious Physical

injury.” 28 U.S.C. § 1915(g).

NDFL Pro Se 14 (Rev 8/21) Civil Rights Complaint Prisoner g
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A. To the best of your knowledge, have you had any case dismissed fora
reason listed in § 1915(g) which counts as a “strike”?
o YES dN O
If you answered yes, identify the case number, date of dismissal and
court:

1. Date: Case #:

Court: / _.

2. Date:___ case j
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3, Date:___.

 

 

 

  

Court:
(If necessary, list additional cases on an attached page)
B. Have you filed other Jawsuits in either state or federal court dealing with
the same facts or issue involved in this case?
o YES ¢ NO
If you answered yes, identify the case number, parties, date filed, result

(if not still pending), name 0 nudge, and court for each case (if more

 
  
 

than one):

1. Case #:

 

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Court: Judge:

 

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Reason: A

2. Case #: Parties: / / \
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C. Have you filed any other lawsuit in federal court either challenging your
conviction or otherwise relating to the conditions of your confinement?

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If you answered yes, identify all lawsuits:

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1. Case #: Parties: [
Court: ] Judge: JS /\
Date Filed:__| ni Date/(if not p din
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Court: Judge:

 

 

 

 

 

Date Filed: Dismissal Date (if not pendi ig):
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Court: Judge: | | |
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Reason:

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\ | Judge: | \

Date Filed: ee | Date (if not pending): \

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(Attach additional pages as necessary to list all cases. Failure to

 

 

 

 

 

 

 

Court:

 

 

 

Reason: { i

 

disclose all prior cases may result in the dismissal of this case.)

IX. CERTIFICATION
I declare under penalty of perjury that the foregoing (including all

continuation pages) is true and correct. Additionally, as required by Federal

“NDPL Pro Se t4 (Rev 82) Civid Rights Camplsint Prisoner ] j
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the prison’s mail system for mailing on the Ao . day of Mt

2022.

 

Signature of Incarcerated Plaintiff: oy

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Rule of Civil Procedure 11, I certify that to the best of my knowledge,
information, and belief, this complaint: (1) is not being presented for an
improper purpose, such as to harass, cause unnecessary delay, or needlessly
increase the cost of litigation; (2) is supported by existing law or by a non-
frivolous argument for extending, modifying, or reversing existing law; (3) the
factual contentions have evidentiary support or, will likely have evidentiary
support after a reasonable opportunity for further investigation or discovery;

and (4) the complaint otherwise complies with the requirements of Rule 11.

I agree to timely notify the Clerk’s Office if there is any change to my mailing
address, I understand that my failure to keep a current address on file with the

Clerk’s Office may result in 1 the dismissal of my case,

Date: ly: “2. Plaintitr’s Signature: andl vhs faa/

Printed Name of Plaintiff: \ yb CY \eY ali Uhou
Correctional Institution: Walon Ce Cateroral Tavihution
Address:_(p4\ Tari on Pon.

Yehunl, Sota JEL 2.9432

I certify and declare, under penalty of perjury, that this complaint was

 

 

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